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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   COURTNEY FEIN, Bar #244785
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   (916) 498-5700
 5   Attorney for Defendant
     FRANK JOHNSON
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                )   NO. CR.S-11-254-GEB
                                              )
11                        Plaintiff,          )   STIPULATION AND [PROPOSED]
                                              )   ORDER; CONTINUING STATUS
12         v.                                 )   CONFERENCE AND EXCLUDING
                                              )   TIME
13   FRANK JOHNSON,                           )
     ALISHA GRIM and COURTNEY                 )   Date: October 14, 2011
14   LASHAWN WILLIAMS,                        )   Time: 9:00 a.m.
                                              )   Judge: Hon. Garland E. Burrell Jr.
15                  Defendants.
     _______________________________
16
17         IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, Assistant United States Attorney, MICHELE RODRIGUEZ for the United
19   States, FRANK JOHNSON by and through his counsel Assistant Federal Defender,
20   COURTNEY FEIN, ALISHA GRIM by and through her counsel SCOTT CAMERON and
21   COURTNEY LASHAWN WILLIAMS, by and through her counsel, CANDACE FRY,
22   stipulate that the status conference hearing date of September 16, 2011 be vacated, and the
23   matter be set for status conference on October 14, 2011 at 9:00 a.m.
24               The reason for this continuance is to allow defense counsel additional time to
25   receive and review the plea agreements and to allow the newest defense counsel on the case
26   Ms. Fry to review the discovery and consult with her client as her client was recently
27   arraigned. Based upon the foregoing, the parties agree that the time under the Speedy Trial
28   Act should be excluded from the date of signing of this order through and including
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 1   September 16, 2011 pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to
 2   prepare] and Local Code T4 based upon continuity of counsel and defense preparation.
 3   DATED: September 14, 2011.                   Respectfully submitted,
 4                                                DANIEL J. BRODERICK
                                                  Federal Public Defender
 5
                                                  /s/ Courtney Fein
 6                                                COURTNEY FEIN
                                                  Assistant Federal Defender
 7                                                Designated Counsel for Service
                                                  Attorney for FRANK JOHNSON
 8
 9
                                                  /s/ Courtney Fein for
10                                                SCOTT CAMERON
                                                  Attorney at Law
11                                                Attorney for ALISHA GRIM
12                                                /s/ Courtney Fein for
                                                  CANDACE FRY
13                                                Attorney at Law
                                                  Attorney for COURTNEY LASHAWN WILLIAMS
14
15
     DATED: September 14, 2011.                   BENJAMIN WAGNER
16                                                United States Attorney
17                                                /s/ Michelle Rodriguez
                                                  MICHELE RODRIGUEZ
18                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
19
                                            ORDER
20
           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
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     September 16, 2011, status conference hearing be continued to October 14, 2011, at 9:00 a.m.
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     Based on the representation of defense counsel and good cause appearing therefrom, the
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     Court hereby finds that the failure to grant a continuance in this case would deny defense
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. The Court finds that the ends of justice to be served by granting a
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     continuance outweigh the best interests of the public and the defendant in a speedy trial. It
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     is ordered that time up to and including the October 14, 2011 status conference shall be
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 1   excluded from computation of time within which the trial of this matter must be commenced
 2   under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code
 3   T-4, to allow defense counsel reasonable time to prepare.
 4   Dated: September 14, 2011
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 6                                         GARLAND E. BURRELL, JR.
 7                                         United States District Judge

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